Case 1:14-cr-10363-RGS Document 1614-1 Filed 09/19/18 Page 1 of 3




                                 Exhibit A
             Government’s Proposed Neutral Description of the Case
       Case 1:14-cr-10363-RGS Document 1614-1 Filed 09/19/18 Page 2 of 3



                                        CASE SUMMARY

        The indictment charges former owners and employees of the now-defunct New England
Compounding Center, Inc., or NECC, with various criminal offenses following a wide-scale
outbreak of fungal meningitis. The outbreak was traced back to contaminated vials of a drug called
methylprednisolone acetate, or MPA, manufactured and sold by NECC. 793 people around the
country died or suffered serious injuries after being injected with NECC’s contaminated drug.
None of the defendants in this trial are charged with the deaths of these patients. Rather the
indictment charges various defendants with operating NECC as a racketeering enterprise by
manufacturing and fraudulently selling contaminated and defective drugs, and conspiring with one
another to do so. Specifically, the indictment alleges that the defendants failed to follow pharmacy
regulations and industry standards for compounding sterile injectable drugs while representing to
customers that they were. Some of the defendants are also charged with conspiring to deceive the
Food and Drug Administration regarding the true nature of NECC’s business. Some of the
defendants are also charged with violating the Food, Drug, and Cosmetic Act by introducing
contaminated or misbranded drugs into interstate commerce, and dispensing drugs without valid
prescriptions.

        An indictment is the document that advises a defendant of the accusations against him or
her. An indictment is not evidence. Each of the defendants has pled not guilty to all of the charges
tendered against him or her. Under our Constitution and system of laws, the government has the
burden of proof. The government must come forward with proof, beyond a reasonable doubt, that
each defendant committed the specific crimes with which he or she is charged. A defendant has
no obligation to prove his or her innocence. A defendant is presumed innocent of the charges and
this presumption stays with him or her unless and until the government proves the offense charged
beyond a reasonable doubt.

       By way of introduction, defendants Gene Svirskiy, Christopher Leary, Joseph Evanosky,
Alla Stepanets, Kathy Chin, and Michelle Thomas were licensed Massachusetts pharmacists
employed at NECC performing various tasks related to the manufacture, compounding, and
dispensing of NECC’s drugs. Defendant Sharon Carter was the Director of Operations at NECC,
and supervised the order processing and confirmation departments. Defendant Gregory Conigliaro
was a part owner and Vice President of NECC in charge of regulatory compliance.

       Two other NECC defendants charged in the indictment, Barry Cadden and Glenn Chin,
had separate trials which were completed last year.

        These defendants maintain their innocence with respect to all crimes alleged in the
indictment for which they are charged. Each defendant specifically denies that he or she did or
failed to do anything that resulted in the contamination of the drugs, or that they were fraudulently
selling contaminated and defective or other drugs, or conspiring to deceive the Food and Drug
Administration, or that any aspect of NECC’s business violated the food and drug laws.
       Case 1:14-cr-10363-RGS Document 1614-1 Filed 09/19/18 Page 3 of 3



                                       CASE SUMMARY

        The indictment charges former owners and employees of the now-defunct New England
Compounding Center, Inc., or NECC, with various criminal offenses following a wide-scale
outbreak of fungal meningitis. The outbreak was traced back to blamed on contaminated vials of
a drug called methylprednisolone acetate, or MPA, manufactured and sold by NECC. A number
of 793 personspeople around the country died or suffered serious injuries after being injected with
the defectiveNECC’s contaminated drug. None of the defendants in this trial are charged with the
deaths of these patients. Rather the indictment charges various defendants with operating NECC
as a racketeering enterprise by manufacturing and fraudulently selling contaminated and defective
drugs, and conspiring with one another to do so. Specifically, the indictment alleges that the
defendants failed to follow pharmacy regulations and industry standards for compounding sterile
injectable drugs while representing to customers that they were. conspiring to commit fraud by
knowingly marketing drugs that had been manufactured in non-sterile conditions, of Some of the
defendants are also charged with attemptingconspiring to deceive the Food and Drug
Administration regarding the true nature of NECC’s business. Some of the defendants are also
charged with , or of violating provisions of the Food, Drug, and Cosmetic Act by introducing
adulteratedcontaminated or misbranded drugs into interstate commerce, and dispensing drugs
without valid prescriptions.

        An indictment is the document that advises a defendant of the accusations against him or
her. An indictment is not evidence. Each of the defendants has pled not guilty to all of the charges
tendered against him or her. Under our Constitution and system of laws, the government has the
burden of proof. The government must come forward with proof, beyond a reasonable doubt, that
each defendant committed the specific crimes with which he or she is charged. A defendant has
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this presumption stays with him or her unless and until the government proves the offense charged
beyond a reasonable doubt.

        By way of introduction, defendants Gene Svirskiy, Christopher Leary, Joseph Evanovsky,
Alla Stepanets, Kathy Chin, and Michelle Thomas were licensed Massachusetts pharmacists
employed at NECC performing various tasks related to the manufacture, compounding, packaging
and deliverydispensing of NECC’s drugs. Defendant Sharon Carter was the Director of Operations
at NECC, and supervised the order processing and confirmation departments. orked at NECC as
a pharmacy technician assisting the pharmacists in their work. Defendant Gregory Conigliaro was
a part owner and Vice President of NECC in charge of regulatory compliance.

       Two other NECC defendants charged in the indictment, Barry Cadden and Glenn Chin,
had separate trials which were completed last year.

        These defendants maintain their innocence with respect to all crimes alleged in the
indictment for which they are charged. Each defendant specifically denies that he or she did or
failed to do anything that resulted in the contamination of the drugs, or had any reason to know
that they were fraudulently selling contaminated and defective or other drugs, or conspiring to
deceive the Food and Drug Administrationsome drugs had become adulterated, or that any aspect
of NECC’s business violated the food and drug laws.
